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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division


 IN RE: INTERIOR MOLDED DOORS                       Lead Civil Action No. 3: I 8-cv-00718-JAG
 ANTITRUST LITIGATION



 IN RE: INTERIOR MOLDED DOORS                       Lead Civil Action No. 3:18-cv-00850-JAG
 INDIRECT PURCHASER ANTITRUST
 LITIGATION



                                              ORDER

        This matter comes before the court on the Direct Purchaser Plaintiffs' and Indirect

Purchaser Plaintiffs' (collectively, the "plaintiffs") motions for class certification. (Dk. No. 195,

Lead Civil Action No. 3:18-cv-00718; Dk. No. 177, Lead Civil Action No. 3:18-cv-00850.) After

the plaintiffs filed those motions, the Court received their motions for preliminary settlement

approval. (Dk. No. 242, Lead Civil Action No. 3:18-cv-00718; Dk. No. 224, Lead Civil Action

No. I 8-cv-00850.) The Court thereby DENIES AS MOOT the plaintiffs' motions for class

certification.

        It is so ORDERED.

        Let the Clerk send a copy of this Order to all counsel of record.

Date: 15 September 2020
Richmond, VA                                                                 Isl
                                                            John A. Gibney, Jr.
                                                            United States District udg
